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                                                                                            2019 Jan-09 PM 04:00
                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

JOHN HENRY,                                     )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )    Case No.: 2:16-cv-00511-SGC
                                                )
WELLS REMODELING, LLC, et al.,                  )
                                                )
       Defendants.                              )

                      MEMORANDUM OPINION & ORDER1

       John Henry commenced this action against Wells Remodeling, LLC, and

Andrew Wells, alleging violations of the Fair Labor Standards Act, 29 U.S.C. §

201, et seq. (Doc. 1). Pending before the undersigned is the defendants’ second

motion for summary judgment. (Doc. 43). For the reasons discussed below, the

motion is due to be denied in part and granted in part.

I. Facts2

       Wells Remodeling, LLC, d/b/a Alabama ReBath (“Alabama ReBath”)

provides bathroom remodeling services to residential customers. (Doc. 44-7 at 1).

Andrew Wells (“Wells”) is the president of Alabama ReBath. (Id.). Sometime




1
  The parties have consented to the exercise of dispositive jurisdiction by a magistrate judge
pursuant to 28 U.S.C. § 636(c). (Doc. 12).
2
  The following facts are undisputed, unless otherwise noted. They are viewed in the light most
favorable to Henry, as the non-movant, with Henry given the benefit of all reasonable inferences.
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during the first half of 2015, Alabama ReBath hired John Henry (“Henry”) as an

installer and agreed to pay him $20 per hour. (Id. at 2; Doc. 44-1 at 39).3

       Henry started his work days at the Alabama ReBath office. On his arrival,

Henry typically would unload demolition debris from his company van and load

materials required for that day’s job. (Doc. 44-1 at 7-8; Doc. 44-3 at 21-22; Doc.

46-1 at 1).4 Alabama ReBath did not pay Henry for the actual amount of time he

spent performing these tasks (Doc. 44-7 at 2-3), and that time is not explicitly

recorded on Henry’s time sheets or pay sheets (see, e.g., Doc. 44-5 at 42, 62). The

defendants claim that based on Wells’ determination an installer could routinely

unload demolition debris and load job materials in 15-30 minutes and that these

tasks should rarely take more than 45 minutes to complete, Alabama ReBath paid

installers for 45 minutes of “load/unload time” for each phase of a job. (Doc. 44-7

at 2-3). Wells testified that for Henry, this translated to $15. (Id. at 3).5 Henry

testified it typically took between 45 minutes and one hour to unload debris and

load job materials and that it might have taken more than one-and-one-half hours

to perform these tasks on some days. (Doc. 46-1 at 1; Doc. 46-1 at 1).


3
  The parties dispute when Henry’s employment with Alabama ReBath commenced. (Doc. 46-1
at 1; Doc. 53-1 at 1).
4
  Henry claims he also picked up trash that had been dumped outside. (Doc. 44-1 at 7-8; Doc.
46-1 at 1). Wells denies Henry was required to clean up trash (Doc. 44-3 at 52), and the
defendants contend that even if Henry performed such work, the time it required was de minimis
(Doc. 51 at 24).
5
  Henry disputes that Alabama ReBath always paid this fixed amount of load/unload time. (Doc.
47 at 7).
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      If Henry was to receive compensation for load/unload time on a given day,

“yes” was recorded in a field for load/unload time on his pay sheet. (See, e.g.,

Doc. 44-5 at 62). Henry’s pay sheets for May and June 2015 indicate he was paid

$15 for load/unload time on days he was credited with that time. (Id. at 62-66).

However, Henry’s pay sheets for July and August 2015 indicate Henry was paid

$11.25 for that time. (Id. at 67-76). Whatever Henry was paid for load/unload

time, neither the estimated 45 minutes required to unload debris and load job

materials nor the actual time Henry spent performing these tasks appears to have

been counted towards Henry’s overtime. (See, e.g., id. at 62). Henry’s pay sheets

appear to calculate straight time and overtime based solely on time spent on the job

site, with load/unload time added on top of that calculation.       (See, e.g., id.).

Henry’s pay sheets for May through August 2015 show he worked 40 or more

hours on the job site during some weeks. (Id. at 62, 63, 65, 66, 68-70, 74-76).

      After unloading demolition debris and loading job materials, Henry departed

the Alabama ReBath office for the job site in his company van. (Doc. 46-1 at 1).

In addition to job materials, Henry carried personal and company tools in the van.

(Doc. 44-7 at 5). Henry claims he was not always paid for travel time from the

Alabama ReBath office to the job site. (Doc. 46-1 at 1). He further claims that

when was paid for this time, his compensation was based on an estimate derived

from Google Maps, not his actual travel time, which was greater than the estimated


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time. (Id. at 1-2). However determined, travel time from the Alabama ReBath

office to the job site, like load/unload time, does not appear to have been counted

towards Henry’s overtime. (See, e.g., Doc. 44-5 at 61).

      Henry typically returned his company van to the Alabama ReBath office at

the end of the day. (Doc. 44-1 at 20). The defendants did not compensate Henry

at all for return travel time. (Doc. 44-7 at 3). Henry testified the defendants

required him to return his company van to the Alabama ReBath office at the end of

the day. (Doc. 44-1 at 20; Doc. 46-1 at 2). Wells testified Henry could drive the

van home at the end of the day if his home was closer to the job site than the

Alabama ReBath office. (Doc. 44-7 at 5). David Wilkinson, who was employed

by Alabama ReBath in a supervisory role, testified Henry could drive his company

van home at the end of the day on occasion if the job site was close to his home,

but that otherwise he had to bring the van back to the Alabama ReBath office.

(Doc. 44-6 at 16; Doc. 44-10 at 17). Henry acknowledged he sought and received

permission to drive the van home on two or three occasions. (Doc. 44-1 at 11;

Doc. 46-1 at 2). For some period of time in early-to-mid September 2015, Henry

did not work while his company van was in the shop for repairs. (Doc. 44-8 at

122-28).




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      Henry complained to Wells and Wilkinson about his compensation for

load/unload time and travel time. (Doc. 46-1 at 2-3; Doc. 51 at 28).6 Henry

testified Wells appeared frustrated and upset regarding Henry’s complaints. (Doc.

46-1 at 2-3).7 Henry claims that in retaliation for his complaints, Wells informed

him and his co-workers they would not be compensated for load/unload time at all.

(Doc. 44-1 at 21; Doc. 46-1 at 2; Doc. 47 at 23). However, Henry’s pay sheets for

the weeks leading up to September 1, 2015, show he was paid for some

load/unload time during each of those weeks. (Doc. 44-5 at 62-76).

      Beginning on September 1, 2015, Alabama ReBath paid Henry on a

commission, rather than an hourly basis. (Doc. 44-7 at 4). Henry claims he never

wanted to be paid on commission, which resulted in a smaller rate of pay than his

hourly rate. (Doc. 44-1 at 10-11; Doc. 46-1 at 3; Doc. 47 at 10). According to

Henry, he was transitioned to commission-based pay in retaliation for his

complaints regarding his compensation for load/unload time and travel time. (Doc.

Doc. 46-1 at 2-3; Doc. 47 at 23). In support of their first motion for summary

judgment, the defendants calculated Henry’s rate of pay for each of the six weeks

he was compensated on a commission by dividing his hours for each week into his

compensation for each week. (Doc. 36 at 10). In all but two of those weeks,


6
  The defendants dispute the precise nature of Henry’s complaints and characterize them as
arising from Henry’s misunderstanding of the Alabama ReBath pay system. (Doc. 51 at 28).
7
  The defendants dispute this testimony. (Doc. 52 at 5).
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Henry’s rate of pay exceeded his $20 hourly rate. (Id.). Henry did not dispute the

accuracy of this calculation (Doc. 38), which formed a basis for the entry of

summary judgment in the defendants’ favor on Henry’s unpaid wages and

overtime claims for the period September 1, 2015, to October 26, 2015 (Doc. 42).

      Wells terminated Henry on October 26, 2015. (Doc. 44-3 at 52; Doc. 44-7

at 2). Wells did not give Henry a reason for his termination. (Doc. 44-1 at 16;

Doc. 44-3 at 54). Henry testified he did not ask for one. (Doc. 44-1 at 16).

Wilkinson testified Wells did not have any conversation with him about why

Henry was no longer working for Alabama ReBath. (Doc. 44-10 at 20, 28).

      Henry claims Wells terminated him because he continued to complain about

his compensation for load/unload time and travel time and about his transition to

commission-based pay. (Doc. 44-1 at 23; Doc. 46-1 at 3). Wells denied he

terminated Henry because of any complaints Henry made regarding pay. (Doc. 44-

3 at 55).     He testified he terminated Henry because (1) Henry failed to

communicate with him and other Alabama ReBath employees for purposes of

scheduling, (2) there were frequent problems with Henry’s jobs, for which Henry

refused to take responsibility, (3) Henry rebuffed Wells’ efforts to help him learn

how to do his job more effectively and efficiently, and (4) Henry generally had a

poor attitude. (Id. at 52-55).




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      Wells did not discipline Henry for issues regarding his communication, job

performance, or attitude pursuant to a progressive discipline policy included in the

Alabama ReBath Employee Handbook prior to terminating him. (Doc. 44-3 at 54).

A prefatory paragraph to the policy states, “progressive discipline is not

appropriate in every case and Alabama Re-Bath will review each case on its own

facts.” (Doc. 44-4 at 47 (emphasis in original)). A note at the end of the policy

states, “[t]he progressive discipline procedure outlined here is a general guideline

only and the management of Alabama Re-Bath is NOT required to follow this

procedure in every case.” (Id. at 50 (emphasis in original)). Wells testified

Alabama ReBath had an informal and liberal approach to discipline at the time of

Henry’s employment. (Doc. 44-3 at 18-19).

      Henry testified neither Wells nor Wilkinson ever discussed with him issues

regarding communication, timely completion of jobs, scheduling, job performance,

or attitude. (Doc. 44-1 at 11-12; Doc. 46-1 at 3). He notes that during a meeting to

discuss his transition to commission-based pay, he told Wells there were no

complaints regarding his jobs and that his jobs were perfect. (Doc. 46-1 at 2).

Wells responded by mentioning a customer complaint but noting he was not trying

to blame Henry for the complaint, which he suspected had something to do with

“corporate.” (Id.).




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       Wilkinson testified he personally did not have frustrations with Henry’s

communication (Doc. 44-10 at 16), could only guess at what specific issues Wells

had with Henry’s communication (id.),8 and himself did not receive complaints

regarding the quality of Henry’s work (id. at 24). However, he also testified Wells

was frustrated with Henry’s job performance in that it took Henry longer than

scheduled to complete jobs, which made it difficult to schedule Henry for jobs, and

that there were “a lot of problems” on Henry’s jobs. (Doc. 44-10 at 12, 14-16).

Text messages from Wells to Henry in October 2015 confirm Wells was frustrated

with Henry’s communication as it related to scheduling. On Friday, October 2,

2015, after Henry told Wells he planned to have a customer sign paperwork on the

following Monday morning at 8:00 A.M., the following exchange ensued:

       Wells: and what about monday’s schedule? and why couldn’t you
       discuss this earlier? this is why we struggle with scheduling and why
       we don’t schedule ahead. i can’t have surprises. monday expects you
       to be there around 8. so how do we do both? i tend to be okay with a
       lot of things as long as they are not surprises because i can’t plan
       around surprises. so i would like to know your plan for Monday being
       you have to be at two places at once. how do we reconcile this?


8
  Henry mischaracterizes Wilkinson’s testimony on this point. While Henry claims Wilkinson
testified he did not recall Wells having frustrations with Henry’s communication (Doc. 47 at 25),
Wilkinson testified as follows:

       Q. Do you recall specifically what issues Andrew had about the communication?

       A. I could only guess.

(Doc. 44-10 at 16).
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      Henry: Monday is not a problem as Gloria is aware I am coming first
      thing to have that signed and I will call the customer and make them
      aware of when I will be arriving. I will take care of my end and I
      understand how frustrating that can be to you worrying about it . . . .

      ...

      Wells: i think you very well understand how unforeseen items can
      cause a schedule delay . . . right? . . . i’ve cleared out most of our
      issues, but right now what’s left is and seems to still be is
      communication[.]

      ...

      Wells: so the next thing to address is communication. you have to
      communicate items like this with me or us. if there was an issue with
      gloria, it would’ve been nice to know wednesday or as soon as you
      know so we can address it together[.]

(Doc. 44-9 at 3-4). On Friday, October 16, 2015, after Henry told Wells he would
be available for another job on the following Tuesday, the following exchange
ensued:

      Wells: ugh. we already scheduled you monday[.] why would you say
      this on friday[.] last week you told us you were good for monday[.] i
      mean this week on wed[.]

      Henry: I’m in the bathroom.

      Wells: are you joking or serious. i need to know what to do as it’s
      already scheduled and unsure if i now have to unscheduled this[.]

      Henry: Is Tuesday out of the question?



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      Wells: well we just booked him. so yes. otherwise we keep doing the
      very thing we have been trying so hard to avoid. the whole point of
      not scheduling ahead unless you say something was to keep us from
      rescheduling. it takes a lot of time chasing them around all the time.
      and the uncertainty of the rest of the week makes it difficult to
      schedule anything else[.] now that you finally told us ahead like we
      asked, we did what we said which is we scheduled ahead. now you’re
      asking us to undo this[.]

      ...

      Wells: what would solve my problem in scheduling is
      communication, in a nut shell[.] you communicate, we schedule. you
      become predictable, we schedule without having to communicate[.] . .
      . help me with communication. i don’t know how to fix this but i’m
      doing the best i can[.]

(Id. at 8-10). Text messages from Wells to Henry in October 2015 also show

Wells believed there to be problems with the quality of Henry’s work and that

Henry denied responsibility for the alleged problems. On October 26, 2015, the

day of Henry’s termination, Wells and Henry exchanged text messages regarding

one customer’s squeaky floor and another’s plumbing problem:

      Henry: . . . . [the customer’s floor] did not squeak until a month or so
      later. Was not squeaking directly after install. This problem had
      nothing to do with my install. . . .”

      Wells: she called it in the day or two later. we were out there twice
      before i had sent you guys on friday[.] we’ve been dealing with it
      since. you just didn’t know about it until about a month later[.]”

      ...

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      Wells: bottom line . . . it should’ve been taken care of and it’s easy to
      say it didn’t squeak then (except it actually did). for it to happen
      exactly right after we were working in there is too much of a
      coincidence[.]

      ...

      Wells: . . . . Abbot has called back and she’s getting back flow of
      water filling up her sink. it seems possible you may have had trash in
      the sink that clogged it up as it didn’t happen before we did her job.

      Henry: Abbot’s problem is in the wall no possible way trash could
      get in that area.

(Doc. 44-9 at 19-20).

II. Procedural History

      In their first motion for summary judgment, the defendants sought dismissal

of Henry’s claims for unpaid wages and overtime for the period September 1,

2015, to October 26, 2015, during which the defendants paid Henry on a

commission basis, on the grounds those claims were subject to the “retail or

service establishment” exemption codified at 29 U.S.C. § 207(i).          (Doc. 35).

Henry conceded the argument.         (Doc. 38).     The undersigned granted the

defendants’ motion, dismissing Henry’s claims for unpaid wages and overtime for

the period September 1, 2015, to October 26, 2015, with prejudice. (Doc. 42).




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      Through the presently pending motion, the defendants seek summary

judgment on Henry’s claims for unpaid wages and overtime compensation related

to “load/unload time” and travel time incurred prior to September 1, 2015, in

violation of 29 U.S.C. §§ 206 and 207 and unlawful retaliation in violation of 29

U.S.C. § 215(a)(3).

III. Standard of Review

      Under Rule 56 of the Federal Rules of Civil Procedure, “[t]he [district] court

shall grant summary judgment if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.”

FED. R. CIV. P. 56(a); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

The party seeking summary judgment bears the initial burden of informing the

district court of the basis for its motion and identifying those portions of the record

the party believes demonstrate the absence of a genuine dispute as to a material

fact. Celotex Corp., 477 U.S. at 323. If the movant fails to carry its initial burden,

the motion must be denied, and the court need not consider what showing the non-

movant has made. Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1116 (11th Cir.

1993).     Otherwise, the non-movant must go beyond the pleadings and come

forward with evidence showing there is a genuine dispute as to a material fact for

trial. Celotex Corp., 477 U.S. at 324.




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      The substantive law identifies which facts are material and which are

irrelevant. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute

is genuine if there is a real basis in the record for the dispute, Ellis v. England, 432

F.3d 1321, 1326 (11th Cir. 2005), and the evidence is such that a reasonable jury

could return a verdict for the non-movant, Anderson, 477 U.S. at 248. If the

evidence is merely colorable or not significantly probative, summary judgment is

appropriate. Id. at 249-50 (internal citations omitted). All reasonable doubts about

the facts should be resolved in favor of the non-movant, and all justifiable

inferences should be drawn in the non-movant’s favor. Fitzpatrick, 2 F.3d at 115.

IV. Discussion

      The defendants seek summary judgment on Henry’s claims for load/unload

time and travel time from the Alabama ReBath office to the job site on the ground

Henry’s pay sheets show he was compensated for that time. (Doc. 51 at 21-23).

They claim the Portal-to-Portal Act, which amended the FLSA, excepts Alabama

ReBath from compensating Henry for return travel time. (Id. at 24-26). Finally,

they claim Henry has failed to make out a prima facie case of retaliation and that

they have articulated legitimate, non-retaliatory reasons for Henry’s termination

that Henry cannot rebut as pretext. (Id. at 27-32).




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       A. Load/Unload Time & Travel Time to Job Site

       In his interrogatory responses, Henry identified a number of days as to

which the job start time recorded on his time sheet was earlier than the job start

time recorded on his pay sheet. (Doc. 44-2 at 10-11). He claimed he did not

receive compensation for the difference, totaling 42 hours, which represented time

he spent unloading demolition debris and loading job materials.                    (Id.).   The

defendants claim Henry has simply misunderstood how to read his pay sheets,

which recorded load/unload time and travel time separately from time spent on the

job site. (Doc. 51 at 21). According to the defendants, their records show Henry

was not yet employed by Alabama ReBath on days as to which he claims a total of

6.5 hours owed and that he was paid for a total of 34.66 hours of load/unload time

and travel time on the remaining days. (Id. at 21-23).9 The defendants’ calculation

is based on an allotment of 45 minutes of load/unload time to Henry, irrespective

of the actual time Henry spent unloading demolition debris and loading job

materials. (See id.). For purposes of the defendants’ motion, the dispositive


9
  In response, Henry claims there are missing time sheets and that his pay sheets were altered to
remove load/unload time and travel time from the Alabama ReBath office to the job site, as a
result of which he can meet a reduced burden of proving his claims for this time through
deposition and affidavit testimony. (Doc. 47 at 13-15). It is not necessary to address the
substance of Henry’s response or the defendants’ reply thereto (Doc. 52 at 6-9) because, as
discussed below, the defendants have not demonstrated Henry’s compensation for load/unload
time and travel time to the job site complied with the FLSA’s minimum wage and overtime
requirements. See Fitzpatrick, 2 F.3d at 1116 (“If the party moving for summary judgment fails
to discharge the initial burden, then the motion must be denied and the court need not consider
what, if any, showing the non-movant has made.”).
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question is whether the defendants, as the movants, have shown payment of Henry

for load/unload time in this manner complied with the FLSA’s minimum wage and

overtime requirements. As discussed below, they have not carried their burden on

this issue.

       While the FLSA does not require an employer to compensate an employee

on an hourly basis but, rather, permits an employer to compensate an employee on

a piece-rate, salary, commission, or other basis, an employer cannot necessarily

pay an employee on one of these alternative bases without consideration of the

hours actually worked by the employee.        29 C.F.R. § 778.109.10      Where an

employer compensates an employee on an other-than-hourly basis, compliance

with the FLSA’s minimum wage and overtime requirements is generally

determined by reference to an employee’s “regular rate of pay,” and that rate is

determined by reference to the hours actually worked by the employee. Id. For

example, if an employee is compensated solely on an hourly basis, his regular rate

is his hourly rate. 29 C.F.R. § 778.110. If an employee is paid a flat sum for doing

a particular job without regard to the number of hours spent on the job, his regular

rate is the total of all sums received at the job rate for a given work week divided

by the total hours actually worked during that week. 29 C.F.R. § 778.112. If an

employee is compensated on the basis of multiple rates, his regular rate is his total

10
   The Department of Labor’s regulations implementing the FLSA are accorded Chevron
deference. Falken v. Glynn County, Georgia, 197 F.3d 1341, 1346 (11th Cir. 1999).
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earnings from all rates for a given work week divided by his total hours worked

during that week. 29 C.F.R. § 778.115; see also §778.109. However computed,

the employee’s regular rate of pay must not fall below the statutory minimum

wage, and the employee must be compensated at one-and-one-half times that rate

for hours worked in excess of forty. 29 C.F.R. § 778.107; see also 29 U.S.C. §§

206, 207; Helmert v. Butterball, LLC, 805 F. Supp. 2d 655, 667 (E.D. Ark. 2011)

(holding that employer cannot compensate employees based on amount of time a

reasonably efficient employee would spend donning and doffing smocks if actual

time is greater and result is that compensation falls below FLSA’s minimum wage

and overtime requirements).11

         As the movants, the defendants bear the burden of demonstrating their

entitlement to summary judgment – that there are no genuine issues of material fact

regarding Henry’s compensation for load/unload time or whether this

compensation complied with the FLSA’s minimum wage and overtime

requirements. Specifically, that means (1) calculating a regular rate of pay for each

week Henry worked, based on his hourly compensation, flat-rate compensation for

11
     For example:

         Johnson works 40 hours a week at the plant and is paid $7 an hour, or $280. In the
         same workweek he earns $60 for 10 hours of piecework done at home. His hourly
         rate of pay is $6.80 [($280 + $60) ÷ 50]. As overtime he gets an extra half-time
         for the 10 hours he worked over 40, or $34 [10 × $3.40]. His total wage for the
         week is $374 [$280 + $60 + $34].

1 G UIDE TO EMPLOYMENT LAW AND REGULATION § 13:32.
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load/unload time, and the number of hours he actually worked at both of these

rates, (2) confirming that rate did not fall below the statutory minimum wage, and

(3) showing that Henry was compensated at one-and-one half times that rate for

hours worked in excess of forty. Because the defendants have not done this, they

have fallen short of meeting their burden. See Gaytan v. G&G Landscaping

Constr., Inc., 145 F. Supp. 3d 320, 326-27 (D.N.J. 2015) (denying employer’s

motion for summary judgment where employer neglected to address question as to

whether its method of overtime compensation complied with FLSA); Wirtz v.

Williams, 369 F.2d 783, 785 (5th Cir. 1966) (holding district court’s conclusion

employer had complied with FLSA’s overtime requirements was clearly erroneous

where employer paid employees based on estimated hours and kept no record of

hours actually worked).

      Although the burden is the defendants, in the interest of an efficient

resolution of the parties’ dispute and because, ultimately, liability under the FLSA

is a question of law, Birdwell v. City of Gadsden, 970 F.2d 802, 808 (11th Cir.

1992) (“It is for the court to determine if a set of facts gives rise to liability [under

the FLSA]; it is for the jury to determine if those facts exist.”), the undersigned has

scrutinized the evidence submitted by both parties and attempted to identify

undisputed facts from which it could be determined whether Henry’s compensation

for load/unload time was FLSA-compliant. The answer to the question turns on


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the number of hours Henry actually spent at the Alabama ReBath office unloading

demolition debris and loading job materials in a given work week and the

compensation he received for that time. See discussion supra. Neither Henry’s

time sheets nor his pay sheets explicitly record the actual time Henry spent

unloading debris and loading materials on a given day. To the extent the time

could be deduced from other recorded information, the undersigned declines to

undertake this time-consuming analysis, given other questions of fact would

nonetheless preclude summary judgment.

      First, while Wells testified Henry was paid $15 for load/unload time (Doc.

44-7 at 3) and Henry’s pay sheets for May and June 2015 indicate the same (Doc.

44-5 at 62-66), Henry’s pay sheets for July and August 2015 indicate he was paid

$11.25 for that time (id. at 67-76). At least with respect to July and August 2015,

determination of which rate is accurate – the rate Wells testified Henry was paid

for load/unload time or the rate recorded on Henry’s pay sheets as paid for that

time – is necessary to determine Henry’s regular rate of pay.

      Second, even assuming Henry spent no more than 45 minutes unloading

demolition debris and loading job materials and was compensated $15 for that

time, there is some question whether that compensation complied with the FLSA’s

overtime requirements. Henry’s pay sheets appear to calculate straight time and

overtime based solely on time spent on the job site, with load/unload time added on


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top of that calculation.   (See, e.g., Doc. 44-5 at 62).      As a general rule, all

compensable time must be considered in determining whether overtime

compensation is owed. See 29 C.F.R. § 790.6 (“Periods of time between the

commencement of the employee’s first principal activity and the completion of his

last principal activity on any workday must be included in the computation of

hours worked . . . .”); 29 C.F.R. § 778.315 (“In determining the number of hours

for which overtime compensation is due, all hours worked [] by an employee for an

employer in a particular workweek must be counted.”); 29 C.F.R. § 785.38 (“Time

spent by an employee in travel as part of his principal activity . . . must be counted

as hours worked.”); Mendez v. Radec Corp., 232 F.R.D. 78, 88 (W.D.N.Y. 2005)

(“[C]ompensable travel time is to be included in determining the number of hours

an employee has worked in a given week. . . . There is no basis to treat travel time

differently from employees’ other work-related activites, and those hours count in

determining whether the employee is entitled to overtime.”); Kroll v. Home Depot

U.S.A., Inc., 2003 WL 23332905, at *4 (S.D. Ga. Aug. 20, 2003) (holding that

employee would be entitled to overtime pay for compensable travel time that

occurred during week in which she worked more than forty hours). To the extent

Henry’s hours on the job site exceeded 40 in a given week or those hours together

with the hours Henry spent unloading demolition debris and loading job materials

exceeded 40 – and there is evidence they did (Doc. 44-5 at 62, 63, 65, 66, 68-70,


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74-76) – Henry would be due overtime compensation for load/unload time, absent

a valid argument from the defendants to the contrary. The same is true with

respect to Henry’s travel time from the Alabama ReBath office to the job site.

      For the foregoing reasons, the defendants’ motion for summary judgment on

Henry’s claims for load/unload time and travel time to the job site are due to be

denied.

      B. Return Travel Time

      Under the Portal-to-Portal Act, which amended the FLSA, an employer is

not required to pay an employee for (1) “traveling to and from the actual place of

performance of the principal activity or activities which [the] employee is

employed to perform” or (2) “activities which are preliminary to or postliminary to

[the employee’s] principal activity or activities.” 29 U.S.C. § 254(a).

      The term “principal activities” includes all activities that are an “integral and

indispensable part of the principal activities.” IBP, Inc. v. Alvarez, 546 U.S. 21, 30

(2005) (quoting Steiner v. Mitchell, 350 U.S. 247, 256 (1956)). Therefore, while

ordinary home-to-work and work-to-home travel is not compensable, travel that is

an integral and indispensable part of an employee’s principal activities is

compensable. See Llorca v. Sheriff, Collier Cty., Florida, 893 F.3d 1319, 1324

(11th Cir. 2018) (holding that in the Eleventh Circuit, “commuting time and other

preliminary and postliminary activities are compensable only if they are both an


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integral and indispensable part of the principal activities” (emphasis in original));

Preston v. Settle Down Enterprises, Inc., 90 F. Supp. 2d 1267, 1279 (N.D. Ga.

2000) (noting travel time is compensable only if it is a principal activity of the

employee).    An activity such as travel is integral and indispensable to an

employee’s principal activities if it “is an intrinsic element of those activities and

one with which the employee cannot dispense if he is to perform [the] principal

activities.” Integrity Staffing Sols., Inc. v. Busk, 135 S. Ct. 513, 517 (U.S. 2014).

      In Integrity Staffing, the United States Supreme Court emphasized the

integral-and-indispensable test is tied to the productive work an employee is

employed to perform and held that the United States Court of Appeals for the

Ninth Circuit had erred in focusing on whether an employer required a particular

activity. Id. at 519. According to the defendants, this calls into doubt the decision

of the United States Court of Appeals for the Eleventh Circuit in Burton v.

Hillsborough Cty., Florida, 181 F. App’x 829 (11th Cir. 2006), on which Henry

relies to support his claim the defendants were required to pay him for return travel

time because they mandated he leave his company van at the Alabama ReBath

office at the end of the day. (Doc. 52 at 9 n.37). In that case, the circuit court held

that “if an employee driving an employer-owned car is required to return to the

employer’s premises after a day’s work prior to returning home, that time is

compensable under the FLSA.” Id. at 835 (emphasis in original). Although the


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Eleventh Circuit has not expressly addressed Burton following Integrity Staffing, it

has noted that “the fact that an employer requires or benefits from the activity at

issue does not establish that the activity is integral and indispensable.” Llorca, 893

F.3d at 1324 (citing Integrity Staffing, 135 S. Ct. at 519). See also Brantley v.

Ferrell Elec., Inc., 112 F. Supp. 3d 1348, 1370 (S.D. Ga. 2015) (noting that in

Integrity Staffing, the Supreme Court rejected tests like the one articulated in

Burton to the extent they focus on whether an employer required a particular

activity). However, persuasive authority suggests it is not irrelevant, either.

      In Meeks v. Pasco Cty. Sheriff, a deputy sheriff sought overtime

compensation for time spent transporting his patrol car between a sheriff’s patrol

division office and his patrol zone. 688 F. App’x 714, 716 (11th Cir. 2017). The

deputy sheriff was not allowed to store the car at home but, rather, was required to

store it at a sheriff’s patrol division office because he lived more than fifteen miles

outside the county. Id. Citing Integrity Staffing, the Eleventh Circuit held that the

travel time was an integral and indispensable part of the deputy sheriff’s principal

activities – his patrol duties – because he relied on the patrol car to maintain

contact with the sheriff and respond to calls assigned by the sheriff and could not

have patrolled his zone without it. Id. at 717. In other words, although the

requirement that the deputy sheriff store his patrol car at a designated location may

not have been sufficient to render the time spent transporting it between that


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location and his patrol zone compensable, it was relevant to the extent the car was

essential to the deputy sheriff’s job; the deputy sheriff had to have the car, and

because his employer required it to be stored at a designated location, he had to

transport it between that location and his patrol zone.

      The regulations promulgated by the Department of Labor to implement the

FLSA lend support to the conclusion an employer’s requirement may render travel

time compensable. See 29 C.F.R. § 785.38 (“If an employee normally finishes his

work on the premises at 5 p.m. and is sent to another job which he finishes at 8

p.m. and is required to return to his employer’s premises arriving at 9 p.m., all of

the time is working time.      However, if the employee goes home instead of

returning to his employer’s premises, the travel after 8 p.m. is home-to-work travel

is not hours worked.”).

      Here, evidence Henry carried job materials and personal and company tools

in his company van (Doc. 44-7 at 5) and was not able to work for some period of

time in early-to-mid September 2015 while the van was in the shop for repairs

(Doc. 44-8 at 122-28) suggests Henry relied on the van to transport materials to

and from the job site and could not have performed his principal activity –

installing bathrooms – without it. Moreover, there is conflicting testimony as to

whether the defendants required Henry to return his company van to the Alabama

ReBath office at the end of the day. (Doc. 44-1 at 20; Doc. 44-6 at 16; Doc. 44-7


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at 5; Doc. 46-1 at 2; Doc. 44-10 at 17). Resolution of these factual issues is

necessary to determine whether Henry’s return travel time is compensable under

the FLSA. Accordingly, the defendants’ motion for summary judgment on this

claim is due to be denied.

      C. Retaliation

      The FLSA protects an employee against retaliation for asserting his rights

under the statute. See 29 U.S.C. § 215(a)(3). To establish a prima facie case of

FLSA retaliation, a plaintiff must show the following: (1) he engaged in activity

protected under the FLSA, (2) he subsequently suffered adverse action by his

employer, and (3) there was a causal connection between his protected activity and

the adverse action. Wolf v. Coca-Cola Co., 200 F.3d 1337, 1342-43 (11th Cir.

2000). If the plaintiff makes this prima facie showing, the burden shifts to the

employer to articulate a legitimate, non-retaliatory reason for its adverse action.

See id. If the employer is able to do so, the burden shifts back to the plaintiff to

demonstrate the proffered reason is pretext for retaliation.     See id.; see also

Johnson v. Advertiser Co., 778 F. Supp. 2d 1270, 1277 (M.D. Ala. 2011) (citing

Wolf for proposition that “[i]n the Eleventh Circuit, retaliation claims under the

FLSA are analyzed under the burden-shifting framework employed by courts in

cases brought under Title VII of the Civil Rights Act”). If the plaintiff fails to

demonstrate a genuine dispute as to a material fact regarding pretext, the employer


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is entitled to summary judgment on the retaliation claim. Johnson, 778 F. Supp. 2d

at 1277 (citing Combs v. Plantation Patterns, 106 F.3d 1519, 1528 (11th Cir.

1997)).

       Henry claims that in retaliation for his continued complaints regarding his

compensation, the defendants first eliminated compensation for all load/unload

time, then transitioned him to commission-based pay, and finally terminated his

employment. (Doc. 44-1 at 10-11, 21, 23; Doc. 46-1 at 2-3; Doc. 47 at 23). The

defendants argue Henry’s complaints did not rise to the level of activity protected

by the FLSA; the acts, other than termination, of which Henry complains are not

adverse for purposes of maintaining an FLSA retaliation claim; 12 Henry cannot

demonstrate a causal connection between his complaints and his termination; and

they have articulated legitimate, non-retaliatory reasons for Henry’s termination

that Henry cannot rebut as pretext. (Doc. 51 at 26-32).

              1. Elimination of Compensation for Load/Unload Time

       Henry is not specific as to when he claims the defendants eliminated

compensation for all load/unload time. To the extent he claims the defendants took

this action prior to September 1, 2015, his pay sheets refute the claim. Henry’s pay

sheets for the weeks leading up to September 1, 2015, show Henry was paid for

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   The defendants address this aspect of Henry’s FLSA retaliation claim in their amended brief in
support of their second motion for summary judgment. (Doc. 51 at 26 n.3). Henry, who did not
oppose the filing of the amended brief to address the same (Doc. 49), was given an opportunity
to respond to the defendants’ position (Doc. 50) but did not do so.
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some load/unload time during each of those weeks. (Doc. 44-5 at 62-76). To the

extent Henry claims the defendants eliminated compensation for all load/unload

time on or after September 1, 2015, Henry has conceded he was properly

compensated between that date and his termination on October 26, 2015 (Doc. 38),

as a result of which any such action cannot have been adverse for purposes of

maintaining an FLSA retaliation claim.

            2. Transition to Commission Compensation

      Henry claims his transition to commission-based pay was adverse because

he never wanted to be paid on commission and his commission-based rate of pay

was smaller than his hourly rate. (Doc. 44-1 at 10-11; Doc. 46-1 at 3; 47 at 10).

“[N]ot everything that makes an employee unhappy is an actionable adverse

employment action.” Bass v. Bd. of Cty. Comm’rs, Orange County, Florida, 256

F.3d 1095, 1118 (11th Cir. 2001) (internal quotation marks omitted), overruled in

part on other grounds by Crawford v. Carroll, 529 F.3d 961 (11th Cir. 2008). To

be adverse, conduct falling short of termination, failure to hire, or demotion “

‘must, in some substantial way, alter the employee’s compensation, terms,

conditions, or privileges of employment, deprive him or her of employment

opportunities, or adversely affect his or her status as an employee.’” Blue v. Dunn

Const. Co., 453 F. App’x 881, 884 (11th Cir. 2011) (quoting Crawford, 529 F.3d at

970). In other words, the mere fact Henry did not want to be paid on commission

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does not make his transition to commission-based pay an adverse action.

Moreover, his claim the transition negatively affected his rate of pay is refuted by

evidence he did not contest.       In support of their first motion for summary

judgment, the defendants calculated Henry’s rate of pay for each of the six weeks

he was compensated on a commission basis by dividing his hours for each week

into his compensation for each week. (Doc. 36 at 10). In all but two of those

weeks, Henry’s rate of pay exceeded his $20 hourly rate. (Id.). Henry did not

dispute the accuracy of this calculation (Doc. 38), which formed a basis for the

entry of summary judgment in the defendants’ favor on Henry’s unpaid wages and

overtime claims for the period September 1, 2015, to October 26, 2015 (Doc. 42).

Accordingly, Henry’s transition to commission-based pay was not an adverse

action for purposes of maintaining an FLSA retaliation claim.

             3. Termination

      The defendants do not argue, and it is beyond dispute, termination is an

adverse action for purposes of maintaining an FLSA retaliation claim. See Blue,

453 F. App’x at 884 (identifying termination as adverse employment action).

However, this aspect of Henry’s FLSA retaliation claim fails, as well, because the

defendants have articulated legitimate, non-retaliatory reasons for Henry’s

termination that Henry has failed to rebut as pretext.




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        Wells denied he terminated Henry because of any complaints Henry made

regarding pay.      (Doc. 44-3 at 55). Wells testified he terminated Henry for

reasons that included Henry’s lack of communication, which affected scheduling,

and problems with the quality of Henry’s work for which Henry refused to take

responsibility. (Id. at 52-55). These are legitimate, non-retaliatory reasons for

terminating an employee. See Penaloza v. Target Corp., 2012 WL 6721011, at

*10 (M.D. Fla. Dec. 27, 2012) (“Poor job performance . . . is a legitimate, non -

discriminatory reason for adverse employment action.”), aff’d 549 F. App’x 844

(11th Cir. 2013); Haigh v. Gelita USA, Inc., 632 F.3d 464, x (holding that

employee’s interpersonal and communication problems were legitimate, non-

discriminatory reasons for his termination); Brown v. Ohio State Univ., 616 F.

Supp. 2d 740, 751 (S.D. Ohio 2009) (holding that failure to accept problems within

her responsibility, untimely completion of assignments, and poor communication

are legitimate, non-discriminatory reasons for an employee’s termination), aff’d,

385 F. App’x 486 (6th Cir. 2010). Accordingly, the burden shifts to Henry to

demonstrate a genuine issue of material fact as to whether the defendants’

proffered reasons for his termination are pretext. See Johnson, 778 F. Supp. 2d at

1277.

        To demonstrate pretext, a plaintiff “must produce sufficient evidence for a

reasonable fact finder to conclude that a retaliatory reason for the adverse


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employment action is more likely or that each of the employer’s proferred reasons

for the adverse employment action is unworthy of credence.” Id. at 1281 (citing

Texas Dep’t of Cmty. Affairs v. Burdine, 450 U.S. 248, 256 (1981); Jackson v. Ala.

State Tenure Comm’n, 405 F.3d 1277, 1289 (11th Cir. 2005); Chapman v. Al

Transport, 229 F.3d 1012, 1037 (11th Cir. 2000)); see also Raspanti v. Four

Amigos Travel, Inc., 266 F. App’x 820, 823-24 (11th Cir. 2008). “ ‘Provided that

the proffered reason is one that might motivate a reasonable employer, an

employee must meet that reason head on and rebut it.’” Raspanti, 266 F. App’x at

824 (quoting Chapman, 229 F.3d at 1030).

      Henry first argues the defendants’ proffered reasons for his termination are

pretext because the defendants never discussed with him problems with

communication, scheduling, job performance, or attitude before dismissing him.

(Doc. 47 at 23-26). If true, this might create an inference of pretext. See Stanfield

v. Answering Serv., Inc., 867 F.2d 1290, 1294 (11th Cir. 1989) (holding that lack

of complaints or disciplinary reports in employee’s personnel file could support

finding of pretext); but see Wascura v. City of South Miami, 257 F.3d 1238, 1245-

46 (11th Cir. 2001) (discounting lack of such evidence where there was no formal

review process for employee). However, text messages exchanged between Wells

and Henry refute Henry’s claim the defendants did not discuss communication,

scheduling, and job performance issues with him. (Doc. 44-9 at 3-4, 8-10). Henry


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does not dispute the authenticity of these messages. Moreover, Wilkinson testified

Wells was frustrated with Henry’s job performance in that it took Henry longer

than scheduled to complete jobs, which made it difficult to schedule Henry for

jobs, and there were “a lot of problems” on Henry’s jobs. (Doc. 44-10 at 12, 14-

16).    That Wilkinson personally did not have frustrations with Henry’s

communication (see id. at 16) or receive complaints about the quality of Henry’s

work (see id. at 24) is not sufficiently probative of pretext, given the evidence,

including Wilkinson’s own testimony, Wells was frustrated with Henry’s job

performance for a variety of reasons. This evidence also diminishes any probative

value that could otherwise be assigned to a single incident identified by Henry

where Wells told Henry he suspected “corporate,” not Henry, was to blame for a

problem with one of Henry’s jobs. (See Doc. 46-1 at 2).

       Henry next argues the defendants’ proffered reasons for his termination are

pretext because he was not disciplined in accordance with Alabama ReBath’s

progressive discipline policy. (Doc. 47 at 26-27). An employer’s departure from

normal procedures may evidence pretext.       See Bass, 256 F.3d at 1108 (“An

employer’s violation of its own normal hiring procedure may be evidence of

pretext.”); Hurlbert v. St. Mary’s Health Care Sys., Inc., 439 F.3d 1286, 1299

(11th Cir. 2006) (holding that employer’s issuance of separation notice twelve days

after employee’s termination, when usual practice was to prepare separation notice


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within one or two days of termination, was evidence of pretext). However, the

Alabama ReBath policy is peppered with language, some in emphasized font,

making it clear it is not strictly applied (see Doc. 44-4 at 47, 50), and Wells

testified Alabama ReBath had an informal and liberal approach to discipline at the

time of Henry’s employment (Doc. 44-3 at 18-19). For these reasons, that Henry

was not disciplined in accordance with Alabama ReBath’s progressive discipline

policy prior to his termination does not cast doubt on the defendants’ proffered

reasons for that termination.

      Finally, Henry argues the defendants’ proffered reasons for his termination

are pretext because they did not give him a reason for his termination at the time of

his dismissal. (Doc. 47 at 27-28). Henry cites Mock v. Bell Helicopter Textron,

Inc., 196 F. App’x 773 (11th Cir. 2006), in support of this argument. (Doc. 47 at

27). In that case, the Eleventh Circuit held that a triable issue of fact existed as to

whether an employer’s proffered reason for terminating an employee was pretext

where the employee insisted the employer give him its reason for terminating him

at the time of termination and the employer refused to do so, only articulating a

reason (unacceptable performance) in a later letter. Mock, 196 F. App’x at 774.

By contrast, Henry testified he did not ask why he was being terminated. (Doc.

44-1 at 16). See Kohser v. Protective Life Corp., 2015 WL 1395911, at *7-8 (N.D.

Ala. Mar. 25, 2015) (distinguishing Mock where evidence failed to show employee


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asked any questions regarding her demotion or that employer refused to provide

her with any answers about her work-related deficiencies), aff’d, 649 F. App’x 774

(11th Cir. 2016). That Wells did not tell Wilkinson he terminated Henry because

of performance issues (see Doc. 44-10 at 28) does not call the defendants’

proffered reasons for Henry’s termination into question given Wells had no

conversation with Wilkinson at all about why Henry was no longer working for

Alabama ReBath (id. at 20).

      Because Henry has failed to raise a genuine issue of material fact regarding

whether the defendants’ legitimate, non-retaliatory reasons for terminating him

were pretext, the defendants are entitled to summary judgment on Henry’s FLSA

retaliation claim. See Johnson, 778 F. Supp. 2d at 1277.

V. Conclusion

      For the foregoing reasons, the defendants’ second motion for summary

judgment (Doc. 43) is DENIED as to Henry’s claims for unpaid wages and

overtime compensation related to “load/unload time” and travel time incurred prior

to September 1, 2015. The motion is GRANTED as to Henry’s FLSA retaliation

claims, and those claims are DISMISSED WITH PREJUDICE.

      DONE this 9th day of January, 2019.


                                             ______________________________
                                             STACI G. CORNELIUS
                                             U.S. MAGISTRATE JUDGE
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